           Case 2:02-cr-80481-RHC ECF No. 118, PageID.385 Filed 05/07/14 Page 1 of 1
MIE 3                         Order of the Court to Terminate Supervised Release
Revised 07/12
                                   UNITED STATES DISTRICT COURT
                                                 for the
                                       Eastern District of Michigan


UNITED STATES OF AMERICA

                v.

CURTIS CARR                                                          Crim. No.: 02-CR-80481-01


On 04/28/2014 the Court authorized an order denying the petition to revoke supervised release for probation
violation charges.


         The probation department is recommending that supervised release be terminated and the case
         closed.




Reviewed and Approved:                                         Respectfully submitted,


s/Howard L. Jacobs                                             s/Christina R. Wilkerson
Supervising United States Probation Officer                    United States Probation Officer
734-741-2076                                                   313-234-5460



                                           ORDER OF THE COURT

                Pursuant to the above, it is ordered that the pending violation matter be resolved and
                supervision in this case be terminated

                      Dated this 7th Day of May, 2014.



                                                               s/Robert H. Cleland
                                                               United States District Judge

cc: U.S. Marshal
